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                                  No. 21-932



                              In The
                   Supreme Court of the United States

                              DONALD J. TRUMP,
                                  Petitioner,

                                         v.

                         BENNIE G. THOMPSON, et al.,
                                 Respondents.


                      On Petition for a Writ of Certiorari
                     to the United States Court of Appeals
                      for the District of Columbia Circuit


                  BRIEF OF AMICI CURIAE GOVERNMENT
                ACCOUNTABILITY PROJECT, GOVERNMENT
               INFORMATION WATCH, NATIONAL SECURITY
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                 KITROSSER, MARK J. ROZELL, JONATHAN
               SHAUB, AND MITCHEL A. SOLLENBERGER IN
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                                 INTERESTS OF AMICI1

                         The Government Accountability Project,
                 Government Information Watch, National Security
                 Counselors, Louis Fisher, Heidi Kitrosser, Mark J.
                 Rozell, Jonathan Shaub, and Mitchel A. Sollenberger,
                 (collectively “Amici”) respectfully submit this Amici
                 Curiae Brief in Opposition to Certiorari. All parties to
                 this litigation consent to the filing of this Brief. Amici
                 are divided into two categories: (1) non-profit
                 organizations organized under Section 501(c)(3) of the
                 Internal Revenue Code which specialize in, inter alia,
                 government transparency and accountability issues;
                 and (2) law professors and/or scholars who teach,
                 research, and/or write about topics related to
                 Executive Privilege and/or the Presidential Records
                 Act. They submit this Brief in support of Respondents
                 to explain why there is no legitimate basis for a former
                 President to prevail in a case in which the incumbent
                 President has expressly waived the relevant
                 privileges, and that because there is accordingly no
                 reason to grant a preliminary injunction on the
                 grounds that former President Trump might prevail,
                 there is no need for this Court to review the case on
                 the merits. Their interest in this case is ensuring that
                 a former President cannot use claims of privilege
                 under the Presidential Records Act as a means to
                 override the legitimate interests of the incumbent


                 1 Pursuant to Supreme Court Rule 37.6, undersigned counsel
                 states that no party’s counsel authored this Brief in whole or in
                 part. Nor did any party or party’s counsel, or any other person
                 other than amici curiae or their counsel, contribute money that
                 was intended to fund preparing or submitting this Brief.
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                 President and the American people in government
                 transparency and accountability.

                             SUMMARY OF ARGUMENT

                         There is no legal theory of privilege which
                 would allow former President Trump to prevail in this
                 litigation, and this Court should accordingly affirm
                 the District Court’s Order—and the Circuit Court’s
                 affirmation thereof—because of Petitioner’s failure to
                 show a likelihood of success. Because any preliminary
                 injunction or stay at this point would only be in the
                 service of delay, and because, as the House of
                 Representatives Select Committee to Investigate the
                 January 6th Attack on the United States Capitol
                 (“Select Committee”), the National Archives and
                 Records Administration, and numerous amici curiae
                 argued, there is an overwhelming need for the Select
                 Committee to receive this information as soon as
                 possible, the Court should not assist in Petitioner’s
                 attempts to delay the inevitable.
                         Amici fully endorse the ruling of Judge Tanya
                 S. Chutkan in this matter and the Circuit Court’s
                 decision to affirm it. Amici urge the Court not to grant
                 certiorari because Petitioner’s arguments are not
                 supported and, as the lower courts have found, he has
                 failed to show a likelihood of success. However, Amici
                 also respectfully maintain that the courts below did
                 not go far enough. Should the Court grant certiorari,
                 it should do so only to summarily affirm the below
                 decisions and, ideally, to explicitly affirm that no
                 former President may successfully assert Executive
                 Privilege over information for which the incumbent
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                 President has expressly waived it. Both courts below
                 have rightly found that former President Trump’s
                 arguments on this point are without merit, so Amici
                 urge the Court to reach the same outcome by either
                 denying certiorari or, alternatively—if the Court
                 decides to review this case—to settle this question
                 more conclusively based on the arguments presented
                 herein.

                                     ARGUMENT

                 I.    PETITIONER’S CLAIM DOES NOT FIT
                       WITHIN THE YOUNGSTOWN SCHEME

                          “The President’s authority to act, as with the
                 exercise of any governmental power, ‘must stem either
                 from an act of Congress or from the Constitution
                 itself.’” Medellin v. Texas, 552 U.S. 491, 524 (2008)
                 (quoting Youngstown Sheet & Tube Co. v. Sawyer, 343
                 U.S. 579, 585 (1952)). “Justice Jackson’s familiar
                 tripartite scheme provides the accepted framework for
                 evaluating executive action.” Id. Simply put, this test
                 is as follows:

                       1.     When the President acts pursuant to
                              an express or implied authorization of
                              Congress, his authority is at its
                              maximum, for it includes all that he
                              possesses in his own right plus all
                              that Congress can delegate. In these
                              circumstances, and in these only, may
                              he be said (for what it may be worth)
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                               to personify the federal sovereignty. .
                               ..
                        2.     When the President acts in absence of
                               either a congressional grant or denial
                               of authority, he can only rely upon his
                               own independent powers, but there is
                               a zone of twilight in which he and
                               Congress may have concurrent
                               authority, or in which its distribution
                               is uncertain. . . .
                        3.     When the President takes measures
                               incompatible with the expressed or
                               implied will of Congress, his power is
                               at its lowest ebb, for then he can rely
                               only upon his own constitutional
                               powers minus any constitutional
                               powers of Congress over the matter.
                               Courts     can      sustain   exclusive
                               presidential control in such a case
                               only by disabling the Congress from
                               acting upon the subject.

                  Youngstown, 343 U.S. at 635–38 (Jackson, J.,
                  concurring) (emphasis added). At its core, this case
                  boils down to a dispute over how Justice Jackson
                  would classify a former President’s ability to control
                  information after the end of his Administration.
                         In order for a former President to unequivocally
                  assert a personal ability to invoke any privilege held
                  by the Office of the President over the objections of the
                  incumbent President, he would have to “personify the
                  federal sovereignty.” Id. at 636. In other words, he
                  would need to act “pursuant to an express or implied
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                  authorization of Congress.” Id. at 635. This is the
                  category Petitioner attempts to lay claim to, arguing
                  that his right to do so is authorized both by the
                  Constitution and by the Presidential Records Act
                  (“PRA”). However, not only does former President
                  Trump’s claim not fit within the first category, it does
                  not even fit within the framework. In order to explain
                  this case in terms of Youngstown, the Court would
                  need to create a fourth, even weaker category:

                        4.     When a former President takes
                               measures incompatible with the
                               expressed or implied will of both
                               Congress    and     the    incumbent
                               President, his power is virtually
                               nonexistent, for then he can rely only
                               upon his own constitutional powers
                               minus any constitutional powers of
                               Congress over the matter and minus
                               any constitutional powers of the
                               incumbent President over the matter.
                               Courts can sustain exclusive control
                               by a former President in such a case
                               only by disabling both the Congress
                               and the incumbent President from
                               acting upon the subject.

                         To the extent that the Court recognizes some
                  form of presidential communications privilege that
                  can be invoked by a former President over the
                  objection of an incumbent President—which,
                  notwithstanding Nixon v. Administrator of Gen.
                  Servs., 433 U.S. 425 (1977) (“Nixon v. GSA”), it should
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                  not, as explained below—it is this fourth category into
                  which such an assertion would fall.
                          As a practical concern, however, it is impossible
                  to imagine a scenario where such authority could be
                  held to exist, where a court would nonetheless choose
                  to itself “intrude[] into the executive function and the
                  needs of the Executive Branch,” id. at 449, simply
                  because it believed that the duly elected head of the
                  Executive Branch was not properly safeguarding his
                  own branch’s institutional interests. In order to do so,
                  it would have to ignore: (1) the fact that “[i]t is true
                  that only the incumbent is charged with performance
                  of the executive duty under the Constitution,” id. at
                  448; (2) the observation that “the fact that [the
                  incumbent does not] support[] [the former President]’s
                  claim detracts from the weight of his contention,” id.
                  at 449; and (3) the fact that “the incumbent President
                  is not constitutionally obliged to honor [a] former
                  President[’s] invocation of executive privilege,” Public
                  Citizen v. Burke, 843 F.2d 1473, 1479 (D.C. Cir. 1988),
                  This framing may sound like hyperbole, but that is
                  exactly what Petitioner is asking this Court to do, and
                  the Court should forcefully decline. The Circuit
                  Court’s opinion rightfully noted that because
                  Petitioner is no longer the President, the separation of
                  powers concerns outlined in Trump v. Mazars USA,
                  LLP, 140 S. Ct. 2019, 2035 (2020), and Youngstown
                  “necessarily have less traction” and “less salience”
                  especially because the executive and legislative
                  branches here are in agreement. Pet. App. 59a. This
                  Court should therefore either deny certiorari or
                  summarily affirm the Circuit Court’s decision,
                  clarifying this framework with the arguments
                  presented here by Amici.
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                         The remainder of this Brief will explain why
                  Petitioner’s claim regarding the presidential
                  communications privilege is both contrary to the
                  express will of Congress—through its passage of the
                  Presidential and Federal Records Act Amendments of
                  2014, Pub. L. 113-187—and unsupported by the
                  Constitution, rendering it a nullity and leaving
                  Petitioner no chance—let alone a likely chance—of
                  success on the merits.
                         As an initial note, however, it is important for
                  Amici to clarify the scope of their argument. They do
                  not address whether the Select Committee has
                  demonstrated an overriding interest, or even whether
                  the Select Committee’s requests are viable. These are
                  questions better addressed by Respondents and
                  perhaps other amici curiae, to the extent that they
                  need to be answered at all. While Amici agree that the
                  Select Committee’s requests are viable and that the
                  Select Committee has demonstrated an overriding
                  interest sufficient to overcome an invocation of the
                  presidential communications privilege, they maintain
                  that the Court does not need to even address the
                  question of balancing the interests, because Petitioner
                  simply lacks the authority to claim any privilege that
                  President Biden has waived. Put another way, “The
                  Select Committee maintains, for preservation
                  purposes, that the Constitution and the PRA foreclose
                  a former President from asserting executive privilege
                  over the disagreement of the incumbent President,
                  and foreclose a claim of executive privilege,” Resps.
                  Thompson & Select Comm. C.A. Br. at 41 n.51; that
                  argument is the almost total focus of this Brief, even
                  though the Circuit Court declined to reach it. See Pet.
                  App. 40a (“[W]e need not conclusively resolve whether
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                  and to what extent a court could second guess the
                  sitting President’s judgment that it is not in the
                  interests of the United States to invoke privilege.”).

                  II.   PETITIONER’S CLAIM IS INCOMPATIBLE
                        WITH THE PRA

                         When the PRA was initially passed in 1978, it
                  remained silent on the question of the interplay
                  between a former President and an incumbent
                  President in the context of a request for former
                  Presidential records. Nixon v. GSA had just been
                  decided the previous year, and the parameters of a
                  hypothetical meritorious claim of a former President
                  were unknown. Accordingly, Presidents were left to
                  their own devices to answer this question, and they
                  did so in a series of Executive Orders which ranged
                  from “the Archivist shall not permit access to the
                  records by a requester unless and until the incumbent
                  President advises the Archivist that the former
                  President and the incumbent President agree to
                  authorize access to the records,” Exec. Order 13233
                  § 3(d)(1)(ii), to “the Archivist shall abide by any
                  instructions given him by the incumbent President or
                  his designee,” Exec. Order 13489 § 4(b). Had this case
                  arisen in 2004, former President Trump’s claim would
                  have been classified into Justice Jackson’s zone of
                  twilight, if not the first category, because there were
                  insufficient clues to allow a court to ascertain the will
                  of Congress. However, in 2014, Congress amended the
                  PRA to permanently and unequivocally give the
                  incumbent President the final say. See 44 U.S.C.
                  § 2208(c)(2)(C)    (“If   the incumbent President
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                  determines not to uphold the claim of privilege
                  asserted by the former President, . . . the Archivist
                  shall release the Presidential record subject to the
                  claim at the end of the 90-day period beginning on the
                  date on which the Archivist received notification of the
                  claim.”). Simply put, Congress passed a statute which
                  superseded the relevant Executive Orders: a
                  phenomenon that courts have uniformly recognized
                  since the Court’s holding in Little v. Barreme in 1804.
                  6 U.S. 170, 179 (1804); accord Marks v. CIA, 590 F.2d
                  997, 1003 (D.C. Cir. 1978) (“Of course, an executive
                  order cannot supersede a statute.”). And, of course,
                  the “cardinal canon” of statutory interpretation is that
                  “courts must presume that a legislature says in a
                  statute what it means and means in a statute what it
                  says there,” Conn. Nat’l Bank v. Germain, 503 U.S.
                  249, 253–54 (1992), so there can be no question that
                  this statute was an unambiguous reflection of the will
                  of Congress.
                         Moreover, the Court must presume that when
                  Congress amended the PRA, it did so with knowledge
                  of the current prevailing legal interpretations. Merrill
                  Lynch v. Dabit, 547 U.S. 71, 85–86 (2006); Goodyear
                  Atomic Corp. v. Miller, 486 U.S. 174, 184–85 (1988);
                  Cannon v. Univ. of Chicago, 441 U.S. 677, 698–99
                  (1979). Accordingly, when a new statute changes a
                  standard or a process, the Court must presume that
                  Congress intended to do so. In this case, Congress
                  clearly meant to supersede all the relevant portions of
                  prior Executive Orders, including Executive Order
                  13489, and so any questions about whether or not that
                  or any other Order would support Petitioner’s claims
                  become academic, notwithstanding the fact that the
                  parties all appear to take it for granted that Executive
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                  Order 13489 still remains in force in its entirety.
                  Whatever Congressional silence allowed the President
                  to establish the terms of this relationship and bring
                  disputes like this one into the zone of twilight was
                  irretrievably broken when President Obama signed
                  Pub. L. 113-187, and the Court need not spend any
                  significant time or energy considering that question.
                          Before completing this discussion of the PRA, it
                  is important to briefly address another provision
                  which could conceivably be considered to implicitly
                  support Petitioner’s claim, but which does not actually
                  do so. The PRA makes mention twice of the potential
                  for a former President to file a lawsuit to prevent the
                  disclosure of information, as former President Trump
                  did in this case. First the law states that the U.S.
                  District Court for the District of Columbia “shall have
                  jurisdiction over any action initiated by the former
                  President asserting that a determination made by the
                  Archivist violates the former President’s rights or
                  privileges,” 44 U.S.C. § 2204(e), and it then explicitly
                  incorporates this possibility into the timeline the
                  process may take, see id. § 2208(c)(2)(C) (directing the
                  Archivist to release information “unless otherwise
                  directed by a court order in an action initiated by the
                  former President under section 2204(e) of this title or
                  by a court order in another action in any Federal
                  court”). However, a statutory provision merely
                  providing for the possibility of a lawsuit cannot be
                  read to imply that any such lawsuit would be
                  meritorious, and the Court should not read into these
                  provisions an implicit recognition that such a valid
                  claim would exist.
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                         As noted above, the PRA was written one year
                  after Nixon v. GSA was decided by this Court. In that
                  case, the Court allowed for the possibility that a
                  former President “may legitimately assert the
                  Presidential privilege,” 433 U.S. at 449 (emphasis
                  added), but gave no indication of what such a
                  legitimate assertion would look like. It is no surprise,
                  then, that Congress incorporated this hypothetical
                  possibility into the PRA a year later, but there is no
                  support in either the statute itself or the legislative
                  history that any Member of Congress held any belief
                  that such a case would be meritorious. Justice Scalia
                  rather colorfully characterized this phenomenon as
                  “[M]embers of Congress . . . need have nothing in mind
                  in order for their votes to be both lawful and effective.”
                  Pa. v. Union Gas Co., 491 U.S. 1, 30 (1989) (Scalia, J.,
                  partially dissenting). When Congress amended the
                  PRA in 2014, it simply incorporated a reference to the
                  existing provision into the new framework, and there
                  is no reason to believe that any Member of Congress
                  harbored any belief that such a claim would be
                  meritorious that time either. At most, Congress can be
                  understood to simply believe that “those who see in
                  disclosure a threat to the privilege must be given a
                  meaningful opportunity to contest disclosure on that
                  basis,” Nixon v. Freeman, 670 F.2d 346, 359 (D.C. Cir.
                  1982). The Court should accordingly read these
                  provisions as what they are on their face: an allowance
                  that the Supreme Court stated in 1977 that a former
                  President might sue, not that he would ever win.
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                  III.   PETITIONER LACKS THE
                         CONSTITUTIONAL AUTHORITY TO
                         ASSERT ANY CONSTITUTIONAL
                         PRIVILEGE

                         Petitioner’s entire case hangs on the Court’s
                  interpretation of Nixon v. GSA. That case, however,
                  does not actually support Petitioner’s position, for two
                  reasons. First, as noted above, it is a product of its
                  time, and to the extent that it stated that a former
                  President still retained a residual privilege, it should
                  be read to hold that a former President still retained
                  a residual privilege in 1977 before Congress
                  unequivocally made its will known in 2014. Second, it
                  is not accurate to read Nixon v. GSA to mean that,
                  even in 1977, a former President held a residual
                  privilege personally that he could assert over the
                  incumbent President’s objection in a specific dispute
                  over specific records. A better reading would be an
                  interpretation in which the Court is understood to
                  merely     have     held    that    the    presidential
                  communications privilege still protects information
                  created by previous administrations—as opposed to,
                  for instance, an incumbent President being unable to
                  assert the privilege to protect records created by his
                  predecessor—and that a former President simply had
                  standing to assert them if the incumbent President
                  remained silent. Therefore, the Court should either
                  decline to review this case because of the correct
                  decision reached by the lower courts, or, if the Court
                  decides to grant certiorari, it should hold that Nixon
                  v. GSA is only loosely applicable to the instant case,
                  and that, to the extent it is applicable, it supports
                  Respondents. A further discussion of that case follows.
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                         A.     NIXON V. GSA WAS DECIDED IN A
                                SIGNIFICANTLY DIFFERENT
                                CONTEXT

                         It is important to note that Nixon v. GSA was a
                  facial challenge to the PRA’s predecessor statute,
                  specifically the provision directing the GSA
                  Administrator to promulgate regulations governing
                  the handling of former President Nixon’s papers; the
                  Court made clear that its review was limited to the
                  facial validity of the statute in question. Nixon v. GSA,
                  433 U.S. at 455. Furthermore, much of the Court’s
                  analysis hinged on the fact that the records were not
                  being provided to anyone outside the Executive
                  Branch. Id. at 441. Both of these facts counsel against
                  a strict application of Nixon v. GSA to the instant
                  case. It did not involve a scenario in which a former
                  President’s papers were being given to Congress or
                  disclosed publicly, and it most importantly did not
                  involve the incumbent President’s express agreement
                  to such a disclosure.
                          In Nixon v. GSA, the Court made special note
                  of the fact that “[t]he Executive Branch became a
                  party to the Act’s regulation when President Ford
                  signed the Act into law, and the administration of
                  President Carter, acting through the Solicitor
                  General, vigorously supports affirmance of the
                  District      Court’s     judgment      sustaining     its
                  constitutionality.” Id. However, legally speaking,
                  supporting a statute’s constitutionality is not the
                  same as expressly waiving a privilege, and neither
                  former President Ford’s signing of the statute nor
                  then-incumbent President Carter’s support of the
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                  statute are comparable to President Biden’s express
                  direction to the Archivist to release the relevant
                  records. Supporting a statute generally is a policy
                  decision, while expressly waiving a privilege is a
                  legally binding decision.
                         “[T]he    privilege    of    confidentiality    of
                  Presidential communications derives from the
                  supremacy of the Executive Branch within its
                  assigned area of constitutional responsibilities.” Id. at
                  447. It is, however, just a privilege, and it follows the
                  same rules of any other privilege; most importantly,
                  once it is expressly waived, it no longer applies.
                  Simply put, once a privilege is expressly waived by the
                  party with the authority to do so, the information in
                  question cannot be withheld. For instance, it is well-
                  established that if a client authorizes an attorney to
                  release information which would otherwise be
                  protected by the attorney-client privilege, the attorney
                  may not cite the attorney-client privilege to withhold
                  the information. See generally Wi-LAN, Inc. v.
                  Kilpatrick Townsend & Stockton LLP, 684 F.3d 1364,
                  1370 (Fed. Cir. 2012) (voluntary consent constitutes
                  express waiver of attorney-client privilege); In re Von
                  Bulow, 828 F.2d 94, 101 (2d Cir. 1987) (“Of course, the
                  privilege belongs solely to the client and may only be
                  waived by him. An attorney may not waive the
                  privilege without his client’s consent.”).
                         The question then becomes, who is the party
                  with the authority to waive the presidential
                  communications privilege? Generally, a privilege is
                  held by the party to whom its benefit accrues. A client
                  benefits from the attorney-client privilege because it
                  allows the client to candidly seek and obtain legal
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                  advice. A patient benefits from the psychotherapist-
                  patient privilege for much the same reason. With this
                  in mind, it is clear that Nixon v. GSA already
                  answered this question: “the privilege is not for the
                  benefit of the President as an individual, but for the
                  benefit of the Republic.” 433 U.S. at 449. In other
                  words, it is a Governmental privilege, not a personal
                  privilege.
                         It naturally follows, then, that because the
                  presidential    communications      privilege   is   a
                  Governmental privilege, it can only be expressly
                  waived by a representative of the Government.
                  Therefore, even if it may be asserted by a former
                  President, it can be waived by the incumbent
                  President, and that waiver means that the
                  information in question cannot be withheld from
                  disclosure by any other interested party. Just as a
                  former Chief Executive Officer lacks the legal
                  authority to prohibit a corporation’s in-house counsel
                  from releasing information if the current CEO
                  expressly waives the attorney-client privilege on
                  behalf of the corporation, accord Upjohn Co. v. United
                  States, 449 U.S. 383, 389–90 (1981), a former
                  President lacks the legal authority to prohibit an
                  Executive Branch official from releasing information
                  if the incumbent President expressly waives the
                  presidential communications privilege on behalf of the
                  Executive Branch.
                         Amici turn to briefly address what appears to
                  be former President Trump’s main complaint:
                  “President Biden is attempting to waive the executive
                  privilege of his predecessor, without any legal basis
                  for doing so. Indeed, the Biden administration does
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                  not even attempt to argue that President Trump
                  improperly designated the records at issue as being
                  protected by executive privilege.” Pet. C.A. Br. at 34.
                  In making this complaint, Petitioner effectively asks
                  this Court to hold that an express waiver of a privilege
                  is only valid or legally binding if it is done for the right
                  reason, or, e.g., if the holder of the privilege “argue[s]
                  that [the predecessor] improperly designated the
                  records” in some way. This is, simply put, not how a
                  privilege waiver works.
                         The holder of a privilege may expressly waive
                  the protection of that privilege for literally any reason
                  whatsoever. In the context of the deliberative process
                  privilege, there is even a term for such a waiver:
                  discretionary release. As in, the Government’s choice
                  to release otherwise privileged information is
                  discretionary. Furthermore, with respect to the
                  presidential communications privilege in particular,
                  Presidents have waived its protection for political
                  reasons numerous times. For instance, President
                  Nixon withdrew a privilege claim to prevent White
                  House staff from testifying before Congress, so that
                  the Senate Judiciary Committee would confirm
                  Richard Kleindienst as Attorney General. Robert C.
                  Randolph & Daniel C. Smith, Executive Privilege and
                  the Congressional Right of Inquiry, 10 Harv. J. on
                  Legis. 621, 649 (1973). President Reagan similarly
                  dropped a privilege claim over documents related to
                  William Rehnquist’s tenure in the Department of
                  Justice so that the Senate Judiciary Committee would
                  confirm him as Chief Justice of the Supreme Court.
                  Ronald J. Ostrow & David Savage, Senate Panel to
                  Receive Rehnquist Documents; Administration Ends
                  Impasse on Memos Written as Legal Advisor to Nixon;
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                  Scalia Hearings Open, L.A. Times, Aug. 6, 1986, at A1.
                  In these cases and others, the President simply
                  decided it was not worth the political cost to continue
                  such battles with Congress, and they undeniably had
                  the right to make that determination. Simply put,
                  even though Respondents deny that President Biden’s
                  decision was “the result of politically motivated
                  capitulation by the Executive Branch,” Resps.
                  Thompson and Select Comm. Br. at 18, it would make
                  no legal difference if it were; such is the nature of a
                  privilege waiver.
                         This question of waiver was not before the
                  Nixon v. GSA Court, and so its opinion should not be
                  read to counsel otherwise. Moreover, such a reading
                  would place Nixon v. GSA directly at odds with the
                  Circuit Court’s longstanding precedent, since the
                  Circuit Court has held that “the incumbent President
                  is not constitutionally obliged to honor [a] former
                  President[’s] invocation of executive privilege with
                  respect to [the former President’s] papers.” Public
                  Citizen, 843 F.2d at 1479. In such a case, where the
                  lower     courts’   decisions     resulted    from     a
                  straightforward—if unnuanced—application of this
                  Court’s precedents, certiorari is especially disfavored.

                        B.     NIXON V. GSA IS ABOUT
                               PRESERVING PROTECTED STATUS

                        The Nixon v. GSA Court specifically endorsed
                  the position of the U.S. Solicitor General:

                        Unless he can give his advisers some
                        assurance of confidentiality, a President
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                        could not expect to receive the full and frank
                        submissions of facts and opinions upon
                        which effective discharge of his duties
                        depends. The confidentiality necessary to
                        this exchange cannot be measured by the
                        few months or years between the
                        submission of the information and the end
                        of the President’s tenure; the privilege is not
                        for the benefit of the President as an
                        individual, but for the benefit of the
                        Republic. Therefore the privilege survives
                        the individual President’s tenure.

                  Nixon v. GSA, 433 U.S. at 448–49. However, it does
                  not necessarily follow that an individual President’s
                  ability to unilaterally assert the privilege “survives
                  the individual President’s tenure.” In context, this
                  opinion is more harmoniously read to say that the
                  information     protected     by     the    presidential
                  communications privilege continues to be protected
                  beyond the individual President’s tenure, because, as
                  Petitioner argues, “[i]f the privilege that covered one
                  administration were to evaporate immediately upon
                  the transition to the next, the privilege would be
                  rendered all but worthless.” Pet. Br. 23. While the
                  “chilling effect” is a controversial topic in
                  transparency circles, one cannot deny that current
                  jurisprudence fully embraces it, and until that
                  changes, this Court can reasonably treat it as a valid
                  concern. As such, the Court’s endorsement of the
                  Solicitor General’s position on this count was
                  unremarkable; it simply held that such information
                  could still be protected. This statement, however,
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                  carries with it an implicit caveat: the information can
                  still be protected by someone with the authority to do
                  so. In other words, it can be protected—or waived—by
                  the lawful head of the Executive Branch, and nobody
                  else.
                          On this note, it is important to return to the
                  relief that Petitioner is ultimately asking this Court
                  to grant: he is asking this Court to substitute its own
                  judgment for that of the head of a co-equal branch
                  regarding whether or not that branch is appropriately
                  protecting its interests. This is constitutionally
                  disfavored, if not outright prohibited. “[E]ach branch
                  of the Government has the duty initially to interpret
                  the Constitution for itself, and . . . its interpretation of
                  its powers is due great respect from the other
                  branches.” Nixon v. GSA, 433 U.S. at 442–43 (citing
                  United States v. Nixon, 418 U.S. 683, 703 (1974)).
                  Regarding       the    current     Executive       Branch’s
                  “interpretation of its powers,” this Court is required to
                  afford it “great respect.” This respect extends to the
                  determination of whether or not the public interest is
                  served by potentially chilling Government advisors,
                  and it extends to the determination of whether or not
                  it is bound by the PRA. In order to find that former
                  President Trump has any authority to successfully
                  enforce a presidential communications privilege
                  claim, the Court will have to, as noted above, disable
                  both the Congress and the incumbent President from
                  acting upon the subject. This it should not do. See Pet.
                  App. at 23a, 50a–51a, 59a–60a (discussing how courts
                  have historically stayed out of these interbranch
                  political negotiations); id. at 40a (“A court would be
                  hard-pressed under these circumstances to tell the
                  President that he has miscalculated the interests of
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                  the United States, and to start an interbranch conflict
                  that the President and Congress have averted.”).
                          The Circuit Court declined to further resolve
                  this question, however, finding instead that the
                  “profound interests in disclosure” given by President
                  Biden and the January 6th Committee “far exceed
                  [Trump’s] generalized concerns for Executive Branch
                  confidentiality.” Id. at 40a. That finding is the correct
                  outcome in this case, but Amici believe the same
                  reasoning supports this Court either not granting
                  certiorari at all, or if it does, establishing that a former
                  President is simply not in any position to ever be able
                  to second-guess the incumbent President in this way.
                  As Judge Chutkan stated in her district court opinion,
                  the incumbent President, not a former President, is
                  best positioned to make these judgment calls
                  regarding the long-term interests of the Executive
                  Branch and the balance of interests between
                  disclosure, on one hand, and the ability of Executive
                  Branch officials to provide full and frank advice, on
                  the other. Pet. App. 93a. And despite Petitioner’s
                  assertion that a former President’s power “exists in
                  perpetuity,” Judge Chutkan agreed that “Presidents
                  are not kings, and Plaintiff is not President,” and that
                  he is “no longer situated to protect executive branch
                  interests” in the way President Biden is. Id. at 99a.
                  Importantly, he also “no longer remains subject to
                  political checks against potential abuse of that power.”
                  Id. at 100a. The Circuit Court’s opinion acknowledged
                  this aspect of Nixon, 443 U.S. at 448, and emphasized
                  the Constitution’s clarity regarding one person
                  holding this executive power at a time. Pet. App. 41a.
                  As such, there is simply no basis for allowing a former
                  President to assert this kind of Governmental
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                  privilege at all. See id. at 53a–55a (discussing the
                  interests and political checks involved which better
                  situate the incumbent to make these decisions and,
                  where necessary, be held accountable).
                         A final point worth reiterating here is that
                  former President Trump appears to be under the
                  belief that executive privilege exists in part for the
                  purpose of preventing a future President from
                  releasing information for “political” purposes. As
                  discussed above, an incumbent President can waive
                  this privilege for virtually any reason, regardless of
                  whether that reason is arguably “political” or not. Yet
                  he argues that the disagreement in this case:

                        highlights the importance of executive
                        privilege and the ability of Presidents and
                        their advisers to reliably make and receive
                        full and frank advice, without concern that
                        communications will be publicly released to
                        meet a political objective.

                  Pet. Emerg. Appl. Stay at 9. This argument
                  fundamentally misunderstands the purpose of the
                  privilege in this situation where the incumbent
                  President has waived the privilege—the privilege is
                  designed to protect against cross-branch overreach or
                  interference, not against a President’s own successor
                  in the Executive Branch deciding to release
                  information, whatever the reason is. The purpose of
                  the privilege has never been to insulate a former
                  President from discretionary decisions of a successor
                  President, the new leader of the same branch.
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                          By the same token, any traditional norms
                  whereby an incumbent might defer to a former
                  President regarding control of the former President’s
                  records is based on just that—a norm deriving from,
                  e.g., respect for the office, as a professional courtesy,
                  or, as this Court has recognized, because doing so
                  maintains the balance between the incumbent
                  President and future Presidents. See Nixon v. GSA,
                  433 U.S. at 448. But it is not because the former
                  President gets any binding say in what happens once
                  he leaves office. When Congress seeks documents and
                  the sitting President decides that the interests of
                  national security and accountability warrant sharing
                  Executive Branch documents, that is the end of the
                  story. Every assertion by Petitioner overlooking this
                  cross-branch agreement is ignoring how the
                  agreement neutralizes any protective function of the
                  privilege.

                                      CONCLUSION

                         “With all its defects, delays and inconveniences,
                  men have discovered no technique for long preserving
                  free government except that the Executive be under
                  the law.” Youngstown, 343 U.S. at 655 (Jackson, J.,
                  concurring). If a requirement for a free government is
                  that the Executive be under the law, a former
                  Executive can ask no more, yet that is what former
                  President Trump requests. Allowing a former
                  President to override a current President on any
                  question is undemocratic and threatens to create a
                  “shadow President,” a concept fundamentally foreign
                  to the U.S. Constitution. For the reasons provided
                  above, former President Trump has no legal basis to
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                  prevail in this suit, and the Court should accordingly
                  deny certiorari or summarily affirm the Circuit
                  Court’s decision.

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